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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
UNITED STATES                       )
                                    )
      v.                            )                Criminal No. 1:21-cr-35-EGS-2
                                    )
PETER STAGER                        )
                  Defendant.        )
                                    )
____________________________________)


          CONSENT MOTION TO VACATE SCHEDULING ORDER AND TO
                      SCHEDULE STATUS HEARING

       Defendant, Peter Stager (“Mr. Stager”), by and through undersigned counsel, respectfully

moves this Honorable Court to vacate the scheduling order in this matter and schedule a status

hearing date in approximately 30 days.

      In support of this Motion, counsel states the following:

              1.      Mr. Stager is before this Honorable Court charged by superseding

       indictment with one count of Obstruction of an Official Proceeding, in violation of 18

       U.S.C. § 1512(c)(2), 2; one count of Assaulting, Resisting, or Impeding Certain Officers

       Using a Dangerous Weapon, in violation of 18 U.S.C. §§ 111(a)(1) and (b); and other

       related charges. See Superseding Indictment at ECF No. 23.

              2.      A jury trial is scheduled for November 30, 2022. Several pretrial matters

       are scheduled and due before the date of trial.

              3.      The government and counsel for Mr. Stager have discussed this matter at

       length and the parties are intending to proceed with a stipulated bench trial.




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               4.     Accordingly, counsel for Mr. Stager requests that this Honorable Court

       vacate the trial date in this matter and its accompanying pretrial scheduling dates, and

       schedule a status hearing to address a stipulated trial.

               5.     Assistant United States Attorney Benet Kearney consents to this motion.

       Wherefore, for the foregoing reasons and such other that this Honorable Court may deem

just and proper, Peter Stager respectfully moves that this Honorable Court vacate the scheduling

order and schedule a status hearing date in approximately 30 days.




                                                      Respectfully submitted,

                                                      ____/s/_______________________
                                                      David Benowitz
                                                      D.C. Bar No. 451557
                                                      Price Benowitz LLP
                                                      409 Seventh Street, NW
                                                      Suite 200
                                                      Washington, DC 20004
                                                      david@pricebenowitz.com
                                                      Counsel for Peter Stager




                              CERTIFICATE OF SERVICE

        I hereby certify that on this 30th day of August 2022, I caused a true and correct copy of
the foregoing Consent Motion to Vacate Scheduling Order And To Schedule A Status Hearing to
be delivered via CM/ECF to the parties in this matter.



                                                      ____/s/_______________________
                                                      David Benowitz




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